Appeal: 11-4147   Document: 26-1    Date Filed: 08/11/2011    Page: 1 of 1




                                                                    FILED: August 11, 2011


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                           No. 11-4147
                                       (5:09-cr-00259-FL-2)
                                      ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        DONTE MONTRELL JONES, a/k/a Hot Boy

                     Defendant - Appellant

                                      ___________________

                                        JUDGMENT
                                      ___________________

              In accordance with the decision of this court, this appeal is dismissed.

              This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                               /s/ PATRICIA S. CONNOR, CLERK
